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                      IN THElOilXED STATES DISTRICT (DOBKn      S Q
                     FORlftiEfelSfi^M^WUOT OF VIR6IB§M                IA%3M'
                                                                  .. CLERK, U.S. DISTRICT COURT

   UNITED STATES OF AMERICA
                                         §£DAtJIED                • ^"^IiVyANDRIA. VIRGINIA

                                              CRIMINALNO. jiiulk
        V.                                    COUNTS 1-5: 26 U.S.C. § 7206(1); 18
                                              U.S.C. §§2and3551 eLseg.
                                              Subscribing to False United States
   PAUL J. MANAFORT, JR.,                     Individual Income Tax Returns

                                              COUNTS 6-9: 31 U.S.C. §§ 5314 and
              Defendant.                      5322(a); 18 U.S.C. §§ 2 and 3551 etseo.
                                              Failure To File Reports OfForeign Bank
                                              And Financial Accounts

                                              COUNT 10:18 U.S.C. §§ 1349 and 3551
                                              etseg.
                                              Bank Fraud Conspiracy

                                              COUNT 11:18 U.S.C. §§ 1344,2, and
                                              3551 etseo.
                                              Bank Fraud

                                              COUNT 12:18 U.S.C. §§ 1349 and 3551
                                              et seq.
                                              Bank Fraud Conspiracy

                                              COUNT 13:18 U.S.C. §§ 1344,2, and
                                              3551 et seq.
                                              Bank Fraud

                                              COUNT 14:18 U.S.C. §§ 1349 and 3551
                                              et sea.
                                              Bank Fraud Conspiracy

                                              COUNT 15:18 U.S.C. §§ 1349 and 3551

                                              Bank Fraud Conspiracy

                                              COUNT 16:18 U.S.C. §§ 1344,2, and
                                              3551 et seq.
                                              Bank Fraud
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                                                           COUNT 17:18 U.S.C. §§ 1349 and 3551
                                                           et seo.
                                                           Bank Fraud Conspiracy

                                                           COUNT 18:18 U.S.C. §§ 1344,2, and
                                                           3551 etseq.
                                                           Bank Fraud

                                                           FORFEITURE NOTICE
                                               ***   ***




                                             INDICTMENT


                           February 2018 Tenn - At Alexandria. Virpinia


 THE GRAND JURY CHARGES THAT:

                                             Introdnction


 At all times relevant to this Indictment:

 1.    Defendant PAUL J. MANAFORT, JR. (MANAFORT) served for years as a political

 consultantand lobbyist. Betweenat least 2006 and 2015, MANAFORT acted as an unregistered

 agent of a foreign government and foreign political parties. Specifically, he represented the

 Government of Ukraine, the Presidentof Ukraine (Victor Yanukovych, who was Presidentfrom

 2010 to 2014), the Party of Regions (a Ukrainian political party led by Yanukovych), and the

 OppositionBloc (a successorto the Party ofRegionsafter Yanukovych fled to Russia).

 2.    MANAFORT generated tens of millions of dollars in income as a result of his Ukraine

 work. From approximately 2006 through the present, MANAFORT, along with others including

 Richard W. Gates III (Gates), engaged in a scheme to hide income from United States authorities,

 while enjoying the use of the money. During the first part ofthe scheme between approximately

 2006 and 2015, MANAFORT, with the assistance of Gates, avoided paying taxes on this income
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 by disguising it as alleged "loans" from nominee o^hore coiporate entities and by making

 millionsofdollars in imreported paymentsfrom foreign accounts to bank accountsthey controlled

 and United States vendors. MANAFORT also used the ofifehore accounts to purchase United

 States real estate, and MANAFORT used the undisclosed income to make improvements to and

 refinance his United States properties.

 3.    In the second part of the scheme, between approximately 2015 and at least January 2017,

 when the Ukraine income dwindled after Yanukovych fled to Russia, MANAFORT, with the

 assistance of Gates, extracted money from the United States real estate by, among other things,

 using those properties as collateral to obtain loans from multiple financial institutions.

 MANAFORT fraudulently securedmore than twenty million dollars in loans by falsely mflating

 MANAFORT's and his company's income and by failing to disclose existing debt in order to

 qualify for the loans.

 4.    In furtherance of the scheme, MANAFORT funneled millions of dollars in payments into

 numerous foreign nominee companies and bank accounts, opened by him and his accomplices in

 nominee names and in various foreign countries, including Cyprus, Saint Vincent & the

 Grenadines (Grenadines), and the Seychelles. MANAFORT hid the existence and ownership of

 the foreigncompanies and bank accounts, falsely and repeatedly reporting to his tax preparers and

 to the United States that he had no foreign bank accounts.

 5.    In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

 lavishlifestylein the United States, withoutpayingtaxes on that income. MANAFORT, without

 reporting the income to his tax preparer or the UnitedStates, spentmillions of dollars on luxury

 goods and services for himselfand his extended family through payments wired from of&hore

 nominee accounts to United States vendors. MANAFORT also used these offshore accounts to

                                                 3
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 purchase multi-million dollar properties inthe United States and to improve substantially another
 property owned by his family.

 6.    Intotal, more than $75,000,000 flowed through theoffshore accounts. MANAFORT, with

 the assistance of Gates, laundered more than $30,000,000, income that he concealed from the

 United StatesDepartment of the Treasury (Treasury), the Department of Justice, and others.


                                 Relevant Individuals And Entities

 7.    MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

 Long Island, New York.

 8.    Gates was a United States citizen. He residedin Virginia.

 9.    In 2005, MANAFORT andanother partner created Davis Manafort Partners, Inc. (DM?) to

 engage principally in political consulting. DMP had staff in the United States, Ukraine, and

 Russia. In 2011, MANAFORT created DMP Intemational, LLC (DMI) to engage in work for

 foreignclients, in particularpolitical consulting, lobbying, and public relationsfor the Government

 of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership
 solely owned by MANAFORT and his spouse. Gates worked for both DMP and DMI and served

 as MANAFORT's right-hand man.

 10.   The Party of Regions was a pro-Russia political party in Ukraine.             Beginning in

 approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

 interests in Ukraine, the United States, and elsewhere, including the election of its slate of

 candidates. In 2010, its candidate for President, Yanukovych, was elected President of Ukraine.

 In 2014, Yanukovych fled Ukraine for Russia in the wake of popular protests of widespread

 governmental corruption. Yanukovych, the Party of Regions, and the Government of Ukraine
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 were MANAFORT, DMP, and DMI clients.

 11.    MANAFORT, with the assistance of Gates, owned or controlled the following entities,

 which were used in the scheme (the MANAFORTentities):

                                      Domestic Entities




                                        August 2008          Virginia
 Daisy Manafort, LLC (PM)
                                        March 2011           Florida

 Davis Manafort International LLC
                                        March 2007           Delaware
 (PM)

                                        March 2005           Virginia
 DMP(PM)
                                        March 2011           Florida

                                        October 1999         Delaware
 Davis Manafort, Inc. (PM)
                                        November 1999        Virginia

                                        June 2011            Delaware
 DMI (PM)
                                        March 2012           Florida

 Global Sites LLC (PM, RG)              July 2008            Delaware

 Jesand Investment Corporation (PM)     AprU2002             Virginia

 Jesand InvestmentsCorporation(PM)      March 2011           Florida

                                        April 2006           Virginia
 John Hannah, LLC (PM)
                                        March 2011           Florida

 Lilred,LLC(PM)                         December 2011        Florida

 LOAVLtd.(PM)                           April 1992           Delaware

 MC Brooklyn Holdings, LLC (PM)         November 2012        New York

 MC Soho Holdings, LLC (PM)             January 2012         Florida
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                                         April 2012            New York

 Smythson LLC (alsoknownas               July 2008             Delaware
 Symthson LLC) (PM,RG)

                                         Cvoriot Entities



 Entity Name                              Date Created         Incorporation Locatidn

 Actinet Trading Limited (PM, RG)         May 2009             Cyprus

 Black Sea View Limited (PM, RG)          August 2007          Cyprus

 Bletilla Ventures Limited (PM, RG)       October 2010         Cyprus

 Global Highway Limited (PM, RG)          August 2007          Cyprus

 LeviathanAdvisors Limited (PM, RG) August 2007                Cyprus

 LOAV Advisors Limited (PM, RG)           August 2007          Cyprus

 Lucicle Consultants Limited (PM, RG) December 2008            Cyprus

 MarziolaHoldings Limited (PM)            March 2012           Cyprus

  OliveniaTrading Limited (PM, RG)        March 2012           Cyprus

 Peranova Holdings Limited(Peranova)      June 2007            Cyprus
 (PM,RG)

  Serangon Holdings Limited (PM,RG) January 2008               Cyprus

  Yiakora Ventures Limited (PM)           February 2008        Cyprus


                                      Other Foreicn Entities



  Entity Name                              Date Created         Incorpol^tidn Locatioii

  Global Bndeavour Inc. (also known as      Unknown             Grenadines

  Global Endeavor Inc.) (PM)
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  Entity Name                              Date Created          bcoFporation Location

  Jeunet Ltd. (PM)                         August 2011           Grenadines



 12.     The Internal Revenue Service (IRS) was a bureau in the Treasury responsible for

 administering thetaxlaws oftheUnited States and collecting taxes owed to theTreasury.

                                       The Tax Scheme

 MANAFORT's Wiring Money From Offshore Accounts Into The United States

 13.     In order to use the money in the ofifshore nominee accounts of the MANAFORT entities

 without paying taxes on it, MANAFORT caused millions of dollars in wire transfers from these

 accounts to be made for goods, services, and real estate. He did not report these transfers as

 income.

 14.     From2008 to 2014, MANAFORT causedthe following wires, totaling over $12,000,000,

 to be sentto the vendors listed below forpersonal items. MANAFORT did not paytaxes on this

 income, which was used to make the purchases.



                     Transaction       Originating Account        Country of      Amount of
 Payee
                         Date                Holder              Origination     Transaction
 Vendor A               6/10/2008   LOAV Advisors Limited        Cyprus              $107,000
 (Home                  6/25/2008   LOAV Advisors Limited        Cyprus               $23,500
 Improvement             7/7/2008   LOAV Advisors Limited        Cyprus               $20,000
 Company in the          8/5/2008   Yiakora Ventures Limited     Cyprus               $59,000
 Hamptons, New           9/2/2008                                Cyprus
                                    Yiakora Ventures Limited                         $272,000
 York)                  10/6/2008   Yiakora Ventures Limited     Cyprus              $109,000
                       10/24/2008   Yiakora Ventures Limited     Cyprus              $107,800
                       11/20/2008   Yiakora Ventures Limited     Cyprus               $77,400
                       12/22/2008   Yiakora Ventures Limited     Cyprus              $100,000
                        1/14/2009   Yiakora Ventures Limited     Cyprus                $9,250
                        1/29/2009   Yiakora Ventures Limited     Cyprus               $97,670
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 'P^e
                   2/25/2009   Yiakora Ventures Limited     Cyprus   $108,100
                   4/16/2009   Yiakora Ventures Limited     Cyprus    $94,394
                    5/7/2009   Yiakora Ventures Limited     Cyprus    $54,000
                   5/12/2009   Yiakora Ventures Limited     Cyprus     $9,550
                    6/1/2009   Yiakora Ventures Limited     Cyprus    $86,650
                   6/18/2009   Yiakora Ventures Limited     Cyprus    $34,400
                   7/31/2009   Yiakora Ventures Limited     Cyprus   $106,000
                   8/28/2009   Yiakora Ventures Limited     Cyprus    $37,000
                   9/23/2009   Yiakora Ventures Limited     Cyprus   $203,500
                  10/26/2009   Yiakora Ventures Limited     Cyprus    $38,800
                  11/18/2009 Global Highway Limited         Cyprus   $130,906
                    3/8/2010 Global Highway Limited         Cyprus   $124,000
                   5/11/2010 Global Highway Limited         Cyprus    $25,000
                    7/8/2010   GlobalHighwayLimited         Cyprus    $28,000
                   7/23/2010   Leviathan Advisors Limited   Cyprus    $26,500
                   8/12/2010   Leviathan Advisors Limited   Cyprus   $138,900
                    9/2/2010   Yiakora Ventures Limited     Cyprus    $31,500
                   10/6/2010   Global Highway Limited       Cyprus    $67,600
                  10/14/2010   Yiakora Ventures Limited     Cyprus   $107,600
                  10/18/2010   Leviathan Advisors Limited   Cyprus    $31,500
                  12/16/2010   Global Highway Limited       Cyprus    $46,160
                    2/7/2011   Global Highway Limited       Cyprus    $36,500
                   3/22/2011   Leviathan Advisors Limited   Cyprus    $26,800
                    4/4/2011   Leviathan Advisors Limited   Cyprus   $195,000
                    5/3/2011   Global Highway Limited       Cyprus    $95,000
                   5/16/2011   Leviathan Advisors Limited   Cyprus     $6,500
                   5/31/2011   Leviathan Advisors Limited   Cyprus    $70,000
                   6/27/2011   Leviathan Advisors Limited   Cyprus    $39,900
                   7/27/2011   Leviathan Advisors Limited   Cyprus    $95,000
                  10/24/2011   Global Highway Limited       Cyprus    $22,000
                  10/25/2011   Global Highway Limited       Cyprus     $9,300
                  11/15/2011   Global Highway Limited       Cyprus    $74,000
                  11/23/2011   Global Highway Limited       Cyprus    $22,300
                  11/29/2011   Global Highway Limited       Cyprus     $6,100
                  12/12/2011   Leviathan Advisors Limited   Cyprus    $17,800
                   1/17/2012 Global Highway Limited         Cyprus    $29,800
                   1/20/2012 Global Highway Limited         Cyprus    $42,600
                    2/9/2012 Global Highway Limited         Cyprus    $22,300
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         :'-rpc?! •
                       2/23/2012 Global Highway Limited      Cyprus             $75,000
                       2/28/2012 Global Highway Limited      Cyprus             $22,300
                       3/28/2012 Peranova                    Cyprus             $37,500
                       4/18/2012 Lucicle Consultants Limited Cyprus             $50,000
                       5/15/2012 Lucicle Consultants Limited Cyprus             $79,000
                        6/5/2012 Lucicle Consultants Limited Cyprus             $45,000
                       6/19/2012 Lucicle Consultants Limited Cyprus             $11,860
                        7/9/2012 Lucicle Consultants Limited Cyprus             $10,800
                       7/18/2012 Lucicle Consultants Limited Cyprus             $88,000
                        8/7/2012   Lucicle Consultants Limited Cyprus           $48,800
                       9/27/2012   Lucicle Consultants Limited Cyprus          $100,000
                      11/20/2012   Lucicle Consultants Limited Cyprus          $298,000
                      12/20/2012   Lucicle Consultants Limited Cyprus           $55,000
                       1/29/2013                             Cyprus
                                   Lucicle Consultants Limited                 $149,000
                       3/12/2013 Lucicle Consultants Limited Cyprus            $375,000
                       8/29/2013   Global Endeavour Inc.         Grenadines    $200,000
                      11/13/2013   Global Endeavour Inc.         Grenadines     $75,000
                      11/26/2013   Global Endeavour Inc.         Grenadines     $80,000
                       12/6/2013   Global Endeavour Inc.         Grenadines    $130,000
                      12/12/2013   Global Endeavour Inc.         Grenadines     $90,000
                       4/22/2014   Unknown                       Unknown         $56,293
                       8/18/2014   Global Endeavour Inc.         Grenadmes       $34,660
                                                             Vendor A Total   $5,434,793
Vendor B               3/22/2011   Leviathan Advisors Limited    Cyprus          $12,000
(Home                  3/28/2011   Leviathan Advisors Limited    Cyprus          $25,000
Automation,           4/27/2011    Leviathan Advisors Limited    Cyprus          $12,000
Lighting and           5/16/2011   Leviathan Advisors Limited    Cyprus          $25,000
Home                             Global Highway Limited
                      11/15/2011                                 Cyprus          $17,006
Entertainment
                      11/23/2011 Global Highway Limited          Cyprus          $11,000
Company in
                       2/28/2012 Global Highway Limited          Cyprus           $6,200
Florida)
                      10/31/2012   Lucicle Consultants Limited   Cyprus        $290,000
                      12/17/2012   Lucicle Consultants Limited   Cyprus        $160,600
                       1/15/2013   Lucicle Consultants Limited   Cyprus        $194,000
                       1/24/2013   Lucicle Consultants Limited   Cyprus          $6,300
                      2/12/2013    Lucicle Consultants Limited   Cyprus         $51,600
                      2/26/2013    Lucicle Consultants Limited   Cyprus        $260,000
                                                                 United
                      7/15/2013    Pompolo Limited                             $175,575
                                                                 Kingdom
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                        11/5/2013   Global Endeavour Inc.         Grenadines      $73,000
                                                           Vendor B Total       $1319,281
 Vendor C               10/7/2008 Yiakora Ventures Limited   Cyprus               $15,750
 (Antique Rug           3/17/2009   Yiakora Ventures Limited      Cyprus          $46,200
 Store in               4/16/2009   Yiakora Ventures Limited      Cyprus           $7,400
 Alexandria,            4/27/2009   Yiakora Ventures Limited      Cyprus          $65,000
 Virginia)               5/7/2009   Yiakora Ventures Limited      Cyprus         $210,000
                        7/15/2009   Yiakora Ventures Limited      Cyprus         $200,000
                        3/31/2010   Yiakora Ventures Limited      Cyprus         $140,000
                        6/16/2010   Global Highway Limited       Cyprus          $250,000
                                                               Vendor C Total    $934^50
 Vendor D
 (Related to            2/28/2012   Global Highway Limited        Cyprus         $100,000
 Vendor C)
                                                              Vendor D Total     $100,000
 Vendor E               11/7/2008   Yiakora Ventures Limited    Cyprus            $32,000
 (Men's Clothing        21512009    Yiakora Ventures Limited    Cyprus            $22,750
 Store in New           4/27/2009   Yiakora Ventures Limited    Cyprus            $13,500
 York)                 10/26/2009   Yiakora Ventures Limited    Cyprus            $32,500
                        3/30/2010   Yiakora Ventures Limited    Cyprus            $15,000
                        5/11/2010   Global Highway Limited      Cyprus            $39,000
                        6/28/2010   Leviathan Advisors Limited Cyprus              $5,000
                        8/12/2010   Leviathan Advisors Limited Cyprus             $32,500
                       11/17/2010   Global Highway Limited      Cyprus            $11,500
                         2/7/2011   Global Hi^way Limited       Cyprus            $24,000
                        3/22/2011   Leviathan Advisors Limited Cyprus             $43,600
                        3/28/2011   Leviathan Advisors Limited Cyprus             $12,000
                       4/27/2011    Leviathan Advisors Limited Cyprus              $3,000
                        6/30/2011   Global Highway Limited      Cyprus            $24,500
                        9/26/2011   Leviathan Advisors Limited Cyprus             $12,000
                        11/2/2011   Global Highway Limited      Cyprus            $26,700
                       12/12/2011   Leviathan Advisors Limited Cyprus             $46,000
                         2/9/2012   Global Highway Lunited      Cyprus             $2,800
                       2/28/2012    Global Highway Limited         Cyprus         $16,000
                       3/14/2012    Lucicie Consultants Limited    Cyprus          $8,000
                       4/18/2012    Lucicie Consultants Limited   •Cyprus         $48,550
                       5/15/2012    Lucicie Consultants Limited    Cyprus          $7,000
                       6/19/2012    Lucicie Consultants Limited    Cyprus         $21,600
                                               10
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                     8/7/2012   Lucicle Consultants Limited   Cyprus         $15,500
                   11/20/2012   Lucicle Consultants Limited   Cyprus         $10,900
                   12/20/2012   Lucicle Consultants Limited   Cyprus          $7,500
                    1/15/2013   Lucicle Consultants Limited   Cyprus         $37,000
                    2/12/2013   Lucicle Consultants Limited   Cyprus          $7,000
                    2/26/2013   Lucicle Consultants Limited   Cyprus         $39,000
                     9/3/2013   Global Endeavour Inc.         Grenadines     $81,500
                   10/15/2013   Global Endeavour Inc.         Grenadines     $53,000
                   11/26/2013   Global Endeavour Inc.         Grenadines     $13,200
                    4/24/2014   Global Endeavour Inc.         Unknown        $26,680
                    9/11/2014   Global Endeavour Inc.         Grenadines     $58,435
                                                           Vendor E Total   $849^15
 VendorF            4/27/2009   Yiakora Ventures Limited     Cyprus          $34,000
 (Landscaper in     5/12/2009   Yiakora Ventures Limited     Cyprus          $45,700
 the Hamptons,       6/1/2009   Yiakora Ventures Limited     Cyprus          $21,500
 New York)          6/18/2009   Yiakora Ventures Limited     Cyprus          $29,000
                    9/21/2009   Yiakora Ventures Limited     Cyprus          $21,800
                    5/11/2010   Global Highway Limited       Cyprus          $44,000
                    6/28/2010   Leviathan Advisors Limited Cyprus            $50,000
                    7/23/2010   Leviathan Advisors Limited Cyprus            $19,000
                     9/2/2010   Yiakora Ventures Limited     Cyprus          $21,000
                    10/6/2010   Global Highway Limited       Cyprus          $57,700
                   10/18/2010   Leviathan Advisors Limited Cyprus            $26,000
                   12/16/2010   Global Highway Limited       Cyprus          $20,000
                    3/22/2011   Leviathan Advisors Limited Cyprus            $50,000
                     5/3/2011   Global Highway Limited       Cyprus          $40,000
                     6/1/2011   Leviathan Advisors Limited Cyprus            $44,000
                    7/27/2011   Leviathan Advisors Limited Cyprus            $27,000
                    8/16/2011   Leviathan Advisors Limited Cyprus            $13,450
                    9/19/2011   Leviathan Advisors Limited Cyprus            $12,000
                   10/24/2011   Global Highway Limited       Cyprus          $42,000
                    11/2/2011   Global Highway Limited       Cyprus          $37,350
                                                           Vendor F Total   $655,560
 Vendor G            9/2/2010   Yiakora Ventures Limited     Cyprus         $165,000
 (Antique Dealer   10/18/2010   Leviathan Advisors Limited Cyprus           $165,000
 in New York)      2/28/2012    Global Highway Limited       Cyprus         $190,600
                   3/14/2012    Lucicle Consultants Limited Cyprus           $75,000
                   2/26/2013    Lucicle Consultants Lhnited Cyprus           $28,310
                                          11
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                                                              Vendor G Total   $623,910
 Vendor H               6/25/2008   LOAV Advisors Limited       Cyprus          $52,000
 (Clothing Store       12/16/2008   Yiakora Ventures Limited    Cyprus          $49,000
 in Beverly Hills,     12/22/2008   Yiakora Ventures Limited    Cyprus          $10,260
 California)            8/12/2009   Yiakora Ventures Limited    Cyprus          $76,400
                        5/11/2010   Global Highway Limited      Cyprus          $85,000
                       11/17/2010   Global Highway Limited      Cyprus         $128,280
                        5/31/2011   Leviathan Advisors Lunited Cyprus           $64,000
                       11/15/2011   Global Highway Limited      Cyprus          $48,000
                       12/17/2012   Lucicie Consultants Limited Cyprus           $7,500
                                                              Vendor H Total   $520,440
 VendorI
 (Investment             mum        Global Endeavour Inc.         Grenadines   $500,000
 Company)
                                                              Vendor I Total   $500,000
 Vendor J              11/15/2011   Global Highway Limited     Cyprus            $8,000
 (Contractor in         12/5/2011   Leviathan Advisors Limited Cyprus           $11,237
 Florida)              12/21/2011   Black Sea View Limited      Cyprus          $20,000
                         2/9/2012   Global Highway Limited      Cyprus          $51,000
                        5/17/2012   Lucicie Consultants Limited Cyprus          $68,000
                        6/19/2012   Lucicie Consultants Limited Cyprus          $60,000
                        7/18/2012   Lucicie Consultants Limited Cyprus          $32,250
                        9/19/2012   Lucicie Consultants Limited Cyprus         $112,000
                       11/30/2012   Lucicie Consultants Lunited Cyprus          $39,700
                         1/9/2013   Lucicie Consultants Limited Cyprus          $25,600
                        2/28/2013   Lucicie Consultants Limited Cyprus           $4,700
                                                               Vendor! Total   $432,487
 VendorK                12/5/2011   Leviathan Advisors Lunited Cyprus            $4,115
 (Landscaper in          3/1/2012   Global Highway Lunited      Cyprus          $50,000
 the Hamptons,           6/6/2012   Lucicie Consultants Limited   Cyprus        $47,800
 New York)              6/25/2012                             Cyprus
                                    Lucicie Consultants Limited                 $17,900
                        eniam Lucicie Consultants Limited Cyprus                $18,900
                        2/12/2013 Lucicie Consultants Limited Cyprus             $3,300
                                                                  United
                        7/15/2013   Pompolo Limited                             $13,325
                                                                  Kingdom
                       11/26/2013   Global Endeavour Inc.         Grenadines     $9,400
                                                              Vendor K Total   $164,740

                                               12
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 Vendor L             4/12/2012 Lucicle Consultants Limited Cyprus             $83,525
 (Payments             5/2/2012 Lucicle Consultants Limited' Cyprus            $12,525
 Relating to Three
 Range Rovers)        6/29/2012   Lucicle Consultants Limited   Cyprus         $67,655

                                                             Vendor L Total   $163,705
 Vendor M            11/20/2012   Lucicle Consultants Limited Cyprus           $45,000
 (Contractor in       12/7/2012   Lucicle Consultants Limited Cyprus           $21,000
 Virginia)           12/17/2012   Lucicle Consultants Limited Cyprus           $21,000
                      1/17/2013   Lucicle Consultants Limited * Cyprus         $18,750
                      1/29/2013   Lucicle Consultants Limited Cyprus            $9,400
                      2/12/2013   Lucicle Consultants Lunited Cyprus           $10,500
                                                            Vendor M Total    $125,650
 VendorN              1/29/2009   Yiakora Ventures Limited      Cyprus         $10,000
 (Audio, Video,       3/17/2009   Yiakora Ventures Limited      Cyprus         $21,725
 and Control          4/16/2009   Yiakora Ventures Limited      Cyprus         $24,650
 System Home          12/2/2009   Global Highway Limited        Cyprus         $10,000
 Integration and       3/8/2010   Global Highway Lunited        Cyprus         $20,300
 Installation
                      4/23/2010   Yiakora Ventures Limited      Cyprus          $8,500
 Company in the
 Hamptons, New
                      7/29/2010   Leviathan Advisors Limited    Cyprus         $17,650
 York)

                                                             Vendor N Total   $112,825
 Vendor 0
 (Purchase of
                      10/5/2012   Lucicle Consultants Limited   Cyprus         $62,750
 Mercedes Benz)

                                                             Vendor O Total    $62,750
 Vendor P
 (Purchase of        12/30/2008   Yiakora Ventures Limited      Cyprus         $47,000
 Range Rover)
                                                          Vendor P Total       $47,000
 Vendor Q              9/2/2010   Yiakora Ventures Limited  Cyprus             $10,000
 (Property            10/6/2010 Global Highway Limited      Cyprus             $10,000
 Management          10/18/2010 Leviathan Advisors Limited Cyprus              $10,000
 Company in            2/8/2011 Global Highway Limited      Cyprus             $13,500
 South Carolina)
                       2/9/2012   Global Highway Limited        Cyprus          $2,500
                                                             Vendor Q Total    $46,000

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                      Transaction         Origina^g Account             Coimtiyof       Amount of
 Payee
                          Date                   Holder                Origination      Transaction
 Vendor R                 2/9/2011    Global Highway Limited           Cyprus               $17,900
 (Art Gallery in
 Florida)                2/14/2013    Lucicle Consultants Limited      Cyprus               $14,000

                                                             Vendor R Total                 $31,900
 Vendor S                9/26/2011 Leviathan Advisors Limited Cyprus                         $5,000
 (Housekeeping           9/19/2012 Lucicle Consultants Limited Cyprus                        $5,000
 in New York)
                         10/9/2013    Global Endeavour Inc.            Grenadines           $10,000

                                                                     Vendor S Total         $20,000


 15.     In 2012, MANAFORT caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. MANAFORT did not reportthe money used to make

these purchases on his 2012 tax return.


       Property                                        Originating       Country of
                      Payee           Date                                                Amount
   Purchas^                                             Account           Origin
  Howard Street    DMP
  Condominium      International      2/1/2012   Peranova                Cyprus           $1,500,000
  (New York)       LLC
                   Attorney                      Actinet Trading
  Union Street                     11/29/2012                            Cyprus           $1,800,000
                   Account Of                    Limited
  Brownstone,
                    [Real Estate                 ActinetTrading
  (New York)                       11/29/2012                            Cyprus           $1,200,000
                   Attorney]                     Limited
  Arlington
                   Real Estate                   Lucicle Consultants
  House                              8/31/2012                           Cyprus           $1,900,000
                   Trust                         Limited
  (Virginia)
                                                                                Total     $6,400,000


 16.     MANAFORT also disguised, as purported "loans," more than $10 million transferred from

 Cypriot entities, including the overseas MANAFORT entities, to domestic entities owned by

 MANAFORT. For example, a $1.5 million wire from Peranova to DMI that Manafort used to

 purchase real estate on Howard Street in Manhattan, New York, was recorded as a **loan" from
                                                  14
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 Peranova to DMI, rather thanasincome. These loans were shams designed to reduce fraudulently

 MANAFORT's reported taxable income.


 ''Tear'. 5
 T- •••    .   -t-
                                         mw
                                                Jesand Investment
  2008               Yiakora Ventures Limited                         Cyprus            $8,120,000
                                                Corporation
  2008               Yiakora Ventures Limited   DMP                    Cyprus             $500,000
  2009               Yiakora Ventures Limited   DMP                    Cyprus             $694,000
  2009               Yiakora Ventures Limited   Daisy Manafort, LLC   •Cyprus             $500,000
  2012               Peranova                   DMI                    Cyprus           $1,500,000
  2014               Tehnar Investments Ltd.    DMI                   Cyprus             $900,000
  2015               Tehnar Investments Ltd.    DMI                   Cyprus            $1,000,000




 MANAFQl^T's Hiding ForeignBank AccountsAnd False Filings

 17.      United Statescitizenswho have authority over certainforeignbank accounts—whether or

 not the accounts are set up in the namesof nominees who act for their principals—^have reporting

 obligations to the United States.

 18.      First,the BankSecrecy Act and its implementing regulations require UnitedStatescitizens

 to report totheTreasury any financial interest in, or signatory authority over, anybank account or

 other financial account held in foreign countries, for every calendar year in which the aggregate

 balance of all such foreign accounts exceeds $10,000 at any point during the year. This is

 commonly known as a foreign bank account report or "FBAR." The Bank Secrecy Actrequires

 these reports because they have a high degree of usefulness in criminal, tax, or regulatory
 investigations or proceedings. The Treasury's Financial Crimes Enforcement Network (FinCEN)
 is the custodian for FBAR filings, and FinCEN provides access to its FBAR database to law

 enforcement entities, including the Federal Bureau of Investigation.           The reports filed by

 individuals and businesses are used by law enforcement to identify, detect, and deter money
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 laundering that fiuihers criminal enterprise activity, tax evasion, and otherunlawful activities.

 19.   Second, United States citizens also are obligated to r^rt information tothe IRS regarding
 foreign bank accounts. For instance, in 2010, Schedule B ofIRS Form 1040 had a "Yes" or '*No"

 box to record ananswer tothe question: "At any time during [the calendar year], did you have an
 interest inora signature orother authority over a financial account in a foreign country, such asa
 bank account, securities account, or other financial account?" If the answer was "Yes," thenthe

 formrequired the taxpayer to enterthe nameofthe foreign country in whichthe financial account

 was located.

 20.   For each year in or about and between 2008 through at least 2014, MANAFORT had

 authority over foreign accounts that required an FBAR report. Specifically, MANAFORT was

required to report to the Treasury the foreign bank account held by each of the foreign

MANAFORT entities noted above in paragraph 11 that bears the. mitials PM. No FBAR reports

were made by MANAFORTfor these accounts.

21.    Furthermore, in each of MANAFORT's tax filings for 2008 through2014, MANAFORT,

with the assistance of Gates, represented falsely that he did not have authority overany foreign

bank accounts. MANAFORT and Gates had repeatedly and falsely represented in writing to

MANAFORT's tax preparer that MANAFORT had no authority over foreign bank accounts,

knowing that such false representations would result in false tax filings in MANAFORT's name.

For instance,on October4,2011, MANAFORTs tax preparerasked MANAFORT m writing: "At

any time during2010,did you [or your wifeor children] have an interestin or a signature or other

authority over a financial account in a foreign coimtry, such as a bank account, securities account

or other financial account?"       On the same day, MANAFORT falsely responded "NO."

MANAFORT responded the same way as recently as October 3,2016, when MANAFORT*s tax

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 preparer again emailed the question in connection with the preparation of MANAFORT*s tax

 returns: "Foreign bank accounts etc.?" MANAFORT responded on or about the same day:

 'WNE."

                               The Financial Institution Scheme

 22.   Between in or around 2015 and the present, both dates being approximate and inclusive, in

 the Eastem District of Vurginia and elsewhere, MANAFORT, ConspiratorA, and others devised

 and intended to devise, and executed and attempted to execute, a scheme and artifice to de&aud,

 andto obtain money andproperty, by means of false and fraudulent pretenses, representations, and

 promises, from banksand other financial institutions. As partof the scheme, MANAFORT, with

 the assistance of ConspiratorA, repeatedly providedand causedto be provided false information

 to banks and other lenders, among others.

 MANAFORT's Fraud To Access Offshore Monev

 23.   When he was flush with Ukraine income, MANAFORT used his offehore accounts to

 purchase andimprove real estate in the United States. When the income from Ukraine dwindled

 m 2014 and 2015, MANAFORT, with the assistance ofConspirator A, obtained millions ofdollars

 in mortgages on the United States properties, thereby allowing MANAFORT to have the benefits

 of liquidincome withoutpaying taxeson it. MANAFORT defrauded the lenders in various ways,

 including by lying about MANAFORPs and DMI's income, lying about their debt, and lying

 about his use ofthe property and the loan proceeds. For example, MANAFORT and Conspirator

 A submitted fabricated profit and loss statements (P&Ls) that inflated income, and they caused

 others to provide doctored financial documents.

       A. The Loan From Lender A On The Union Street Pronertv

 24.   In 2012, MANAFORT, through a corporate vehicle called "MC Brooklyn Holdings, LLC"

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 owned by him and his family, bought a brownstone on Union Street in the Carroll Gardens section

 of Brooklyn, New York. He paidapproxunately $3,000,000 in cashfor the property. All of that

 moneycame firom a MANAFORT entityin Cyprus. Afterpurchaseofthe property, MANAFORT

 began renovations to transform it from a multi-family dwelling into a single-family home.

 MANAFORT used proceeds of a 2015 loan obtained from a financial institution to make the

 renovations. In order to obtain that loan, MANAFORT falsely representedto the bank that he did

 not derive more than 50% ofhis income/wealth from a country outside the United States.

 25.   In late 2015 through early 2016, MANAFORT sought to borrow cash against the Union

 Street property from Lender A. Lender A provided greater loan amounts for ^'construction

 loans"—that is, loans that required the loan amounts to be used to pay solely for construction on

 the property and thus increase the value of the property serving as the loan's collateral. The

 institution would thus loan money against the expected completed value ofthe property, which in

 the caseofthe UnionStreetproperty wasestimated to be $8,000,000. In early2016,MANAFORT

 was able to obtain a loan of approximately $5,000,000, after promising Lender A that

 approximately $1,400,000 of the loan would be used solely for construction on the Union Street

 property. MANAFORT never intended to lunit use ofthe proceeds toconstruction as required by
 the loan contracts and never did. In December 2015, before the loan was made, MANAFORT

 )vrote his tax preparer, among others, thatthe ^'construction mortgage willallowme to pay back

 [another Manafort apartment] mortgage in full        *' Further, whenthe construction loan closed,

 MANAFORT used hundreds ofthousands of dollars for purposes"unrelated to the construction of

 the property.

       B. The Loan From Lender B On The Howard Street Property

 26.   In 2012, MANAFORT, through a corporate vehicle called ''MC Soho Holdings, LLC"

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 owned by him and his family, bought a condominium onHowardStreet inthe Soho neighborhood
 of Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase
 the condominium came from MANAFORT entities in Cyprus. MANAFORT used the property

 from at least January 2015 through at least August 2017 asan mcome-generating rental property,
 charging thousands of dollars a week on Airbnb, among other places. On his tax returns,

 MANAFORT took advantage of thebeneficial taxconsequences of owning this rental property.

 27.   In late 2015 through early2016,MANAFORT appliedfor a mortgage on the HowardStreet

 condominium from Lender B for approximately $3.4 million. Because the bankwould permit a

 greaterloanamount ifthe property wereowner-occupied, MANAFORT falsely represented to the

 lender and its agents that it was a secondary home used as such by his daughter and son-in-law

 and was not held as a rentalproperty. In an emailon January 6,2016, MANAFORT noted: "[i]n

 order to have the maximum benefit, I am claiming Howard St as a second home. Not an

 investmentproperty." Later, on January 26,2016, MANAFORTwrote to his son-in-law to advise

 him that when the bank appraiser came to assess the condominium, his son-in-law should

 "[r]emember,he believes that you and [MANAFORT'sdaughter] are living there."

 28.   MANAFORT also made a series of false and fraudulent representations to the bank in

 order to secure the millions ofdollars in financing. For example, MANAFORT falsely

 represented the amount ofdebt he had by failingto discloseon his loan application the existence

 ofthe Lender A mortgage on his Union Street property. That liability would have risked his

 qualifying for the loan. Through its own due diligence, Lender B found evidenceofthe existing

 mortgage on the Union Street property. As a result. Lender B wrote to MANAFORT and

 ConspiratorA that the "application has the followingproperties as being owned free & clear...

 Union Street," but "[b]ased on the insurance bindersthat we receivedlast night, we are showing

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 thatthereare mortgages listed on these properties, canyouplease clarify[?]"

 29.   To cover up the falsity of the loan application, Conspirator A, on MANAFORT^s behalf,

 causedan insurance brokerto provideLenderB ^se information, namely, an outdated insurance

 report that did not list the Union Street loan. MANAFORT and Conspirator A knew such a

 representation was fraudulent After Conspirator A contacted the insurance broker and asked her

 to provide Lender B with false information, he updated MANAFORT by email on February 24,

 2016. MANAFORT repliedto Conspirator A, on the sameday: "goodjob onthe msurance issues."

 30.   MANAFORT submitted additional false and fraudulent statements to Lender B.              For

 example, MANAFORT submitted 2014 DMI tax returns to support his 2016 loan application to

 Lender B. Those tax returns included as a purported liability a $1.5 million loan from Peranova.

 Peranova was a Cypriot entity controlled by MANAFORT. On or about February 1, 2012,

 Peranova transferred $1.5 million to a DMI account in the United States, denominatingthe transfer

 as a loan so that MANAFORT would not have to declare the money as income. MANAFORT

 used the "loan" to acquire the Howard Street property.

 31.   When MANAFORT needed to obtain a loan from Lender B, the existence ofthe Peranova

 "loan" undermined his creditworthiness. As a result of the listed Peranova liability. Lender B was

 not willing to make the loan to MANAFORT. To circumvent this issue, MANAFORT and

 Conspirator A caused MANAFORTs tax accountant to send to Lender B back-dated

 documentation that falsely stated that the $1.5 million Peranova loan had been forgiven in 2015,

 and falsely inflatedincome for 2015 to mask MANAFORT*s 2015 drop in Ukraineincome.

 32.   In March 2016, Lender B ^proved the loan m the amount of approximately $3.4 million

 (the $3.4 million loan).



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       C. The Loan From Lender C


 33.   In approximately February2016, MANAFORT applied for a businessloan from LenderC.

 MANAFORT made a series of false statements to Lender C. For example, MANAFORT

 submitted a false statement of assets and liabilities that failed to disclosed the Lender A loan on

 the UnionStreetpropertyand misrepresented, among otherthings, the amountofthe mortgage on

 the Howard Street property.

 34.   Further, in approximately March2016,MANAFORT, withthe assistance of Conspirator A,

 submitted a doctored 2015 DMI P&L that overstated DMI's 2015 income by more than $4 million.

 ConspiratorA asked DMI*s bookkeeperto send him a "Word Documentversion ofthe 2015 P&L

 for [DMI]" because MANAFORT wanted Conspirator A *to add the accrual revenue which we

 have not received in order to send to [Lender C]." The bookkeeper said she could send a .pdf

 version of the P&L. ConspiratorA then askedthe bookkeeperto increasethe DMI revenue,falsely

 claiming that:**[w]e have$2.4min accrued revenue that [MANAFORT] wants addedto the [DMI]

 2015 income. Can you make adjustments on your end and then just send me a new scanned

 version[?]" The bookkeeper refused smce the accoimting method DMI used did not permit

 recordingincome before it was actually received.

 35.   Havmg failed to secure a falsified P&L from the bookkeeper, Conspirator A falsified the

 P&L. Conspirator A wrote to MANAFORT and another conspirator, "I am editing Paul's 2015

 P&L statement."     Conspirator A then sent the altered P&L to Lender C, which claimed

 approximately $4.45 million in net income, whereas the true P&L had less than $400,000 in net

 income.


       D. The Loan From Lender B On The Union Street Propertv

 36.   In March 2016, MANAFORT, with the assistance of Conspirator A and others, applied for

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a $5.5 million loan from Lender B on the Union Street property. As part of the loan process,

MANAFORT submitted a false statement of assets and liabilities that hid his prior loan from

Lender A on the Union Streetproperty, among otherliabilities. In addition, another conspirator

on MANAFORT's behalf submitted a falsified 2016 DM1 P&L. The falsified 2016 DM1 P&L

overstated DMI's income by more than $2 million, which was the amount that Lender B told

MANAFORThe needed to qualify for the loan. When the document was first submitted to Lender

B, a conspirator working at Lender B replied: "Looks Dr'd. Can't someone just do a cleanexcel

doc andpdfto me??" A subsequent version was submitted to the bank.

      B. The T.nanfi From LenderD On The Brideehampton And Union Street Properties

37.   In 2016, MANAFORT sought a mortgage on property in Bridgehampton, New York from

a financial institution. In connection with his application, MANAFORT falsely represented to the

bank that DMI would be receiving $2.4 million in income later in the year for work on a

"democratic development consultmg project." To support this representation. Conspirator A, on

MANAFORT'sbehalf,providedthe bankwitha fake mvoicefor $2.4 million, directed"To Whom

It May Concern," for "[s]ervices rendered per the consultancy agreement pertaining to the

parliamentary elections." The bank, unwilling to rely on the invoice to supportMANAFORT's

stated 2016 income, requested additional infoimation. The bank wasunable to obtam satisfrictoiy

supportfor the statedincome, and the loanapplication wasdenied.

38.   MANAFORT applied to a second bank. Lender D. Between approximately July 2016 and

January 2017, MANAFORT, with the assistance of Conspirator A, sought and secured

approximately $16,000,000 in two loans from Lender D. MANAFORT used the Bridgehampton

property as collateral for one loan, and the Union Street property for the other.

39.   MANAFORT made numerous false and fraudulent representations to secure the loans. For

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  example, MANAFORT provided the bankwith doctored P&LsforDMIfor both2015and2016,

  overstating its income by millions of dollars. The doctored 2015 DMIP&Lsubmitted to Lender

  D was the same false stat^entpreviouslysubnoitted to Lender C, whidi overstatedDMI's income

  by more than$4 million. The doctored 2016 DMI P&L was inflated by MANAFORT by more

  than $3.5 million. To create the false 2016 P&L, on or about October 21,2016, MANAFORT

  emailed Conspirator A a .pdf version of the real 2016 DMI P&L, which showed a loss of more
 than $600,000. Conspirator A converted that .pdfinto a **Word" document so that it could be
  edited, which Conspirator A sent back to MANAFORT. MANAFORT altered that 'Word**

  document by aHHing more than $3.5 million in iiicome. He then sent this falsified P&L to
  ConspiratorAand asked that the 'Word" document beconvertedbackto a.pdf, which Conspirator
 A did and returned to MANAFORT. MANAFORT then sentthe falsified 2016DMIP&L .pdfto

 Lender D.


 40.    In addition, Lender D questioned MANAFORT about a $300,000 delinquency on his
 American Impress car4 which was more than 90 days past due. The delinqu^cy significantly
                   I


  affected MANAFORT^s credit rating score. MANAFORT felsely r^resented to Lender D that

 he had lent his credit card to a Mend, Conspirator A, who had incurred the charges and

 then MANAFORT supplied Lender D a false statement £ix)m Conspirator Ato thateffect
                                      Statutory Allegations

                                COUNTS ONE THROUGH FIVE
                       (Subscribing to False United States Individual Income
                              Tax Returns For 2010-2014 Tax Years)



  41.   Paragraphs 1through 40 are incorporated here.

  42.   On or about the dates specified below, in the Eastem District X>f Virginia, andelsewhere,
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 defendant PAUL J. MANAFORT, JR., willfully and knowingly did make and subscribe United
 States Individual Income Tax Returns, Forms 1040 and Schedule B, for the tax years set forth
 below, vMchreturns contained andwere verified bythe written declaration of MANAFORT that

 they weremade underpenalties of pequry, and whichreturns MANAFORT did not believe to be

 true andcorrect asto every material matter, inthatMANAFORT (a)claimed nottohave a financial

 mterest inand signature and other authority over a financial account ina foreign country and (b)
 failed to report mcome,whereasMANAFORT then and there well knew and believedthat he had

 a financial interest m, and signature and other authority over, bank accounts in a foreign country
 and had earned total income in excess ofthe reportedamountsnoted below:




       1           2010         October 14,2011               None                  $504,744
       2           2011         October 15,2012               None                 $3,071,409
       3           2012         October 7,2013                None                 $5,361,007
       4           2013         October 6,2014                None "               $1,910,928
       5           2014         October 14,2015               None                 $2,984,210

                           (26 U.S.C. § 7206(1); 18 U.S.C. §§ 2 and 3551 etseg.^

                                    COUNTS SIX THROUGH NINE
                          (Failure To File Reports OfForeign Bank And Financial
                                 Accounts For Calendar Years 2011-2014)

 43.       Paragraphs 1 through 40 are incorporated here.

 44.       On the filing due dates listed below, in the Bastem District of Virginia and elsewhere,

 detedant PAUL J. MANAFORT, JR., unlawfully, willfully, and knowingly did fail to file with

 the Department of the Treasury an FBAR disclosing that he had a financial interest in, and

 signatureauthorityover, a bank, securities, and otherfinancial accountin a foreigncountry, which

 had an aggregate value ofmore than $10,000 in a 12-monthperiod, during the years listed below:
                                                    24
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                     6              2011                    June 29,2012
                    7               2012                    June 30,2013
                    8               2013                    June 30.2014
                    9               2014                    June 30,2015
                 (31 U.S.C. §§ 5314 and 5322(a); 18 U.S.C. §§ 2 and 3551 etseo.^

                                            COUNT TEN
                         (BankFraudConspiracy / Lender B / $3.4million loan)

 45.   Paragraphs 1 through 40 are incorporated here.

 46.   On or about and between December 2015 and March 2016, both dates being approximate

 and inclusive, in the Eastern District ofVirginia and elsewhere, defendant PAUL J. MANAFORT,

 JR., did knowingly and intentionally conspire to execute a scheme and artifice to defraud one or

 more financial institutions, to wit: Lender B, the deposits of which were msured by the Federal

 Deposit InsuranceCorporation, and to obtainmoneys, funds, and credits owned by and under the

 custody and control of such financial institution by means of materially false and fraudulent

 pretenses, representations, and promises, contrary to Title 18,United States Code,Section 1344.

                                 (18 U.S.C. §§ 1349and3551 etsea.)

                                           COUNT ELEVEN
                              (Bank Fraud / Lender B / $3.4 million loan)

 47.   Paragraphs 1 through40 are incorporated here.

 48.   On or about and between December 2015 and March 2016, both dates being approximate

 and inclusive, in the Eastern District ofVirginia and elsewhere, defendant PAUL J. MANAFORT,

 JR., did knowingly and intentionally execute and attempt to execute a scheme and artifice to

 defraud one or more financial institutions, to wit: Lender B, the deposits of which were insured by

 the FederalDeposit InsuranceCorporation, and to obtainmoneys, funds,and creditsownedby and

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 under the custody and control of such financial institution by means of materially false and
 fraudulent pretenses, representations, and promises.

                             (18U.S.C. §§ 1344,2, and3551 etseg,)

                                        COUNT TWELVE
                               (BankFraud Conspiracy / Lender C)

 49.   Paragraphs 1 through 40 are incoiporated here.

 50.   On or about and between March 2016 and May 2016, both dates being approximate and

 mclusive, mtheEastern District of Virginia andelsewhere, defendant PAUL J. MANAFORT, JR.,

 did knowingly and intentionally conspue to execute a schemeand artifice to defraudone or more

 financial institutions, to wit: Lender C, the deposits of which were insured bythe Federal Deposit

 Insurance Coiporation, and to obtain moneys, funds and credits owned by and under the custody

 and control of such financial institution by means of materially false and fi:audulent pretenses,

 representations, and promises, contraryto Title 18, United States Code, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 etseo.^     .

                                       COUNT THIRTEEN
                                     (Bank Fraud / Lender C)

 51.   Paragraphs 1 through 40 are incorporated here.

 52.   On or about and between December2015 and March 2016, both dates being approximate

 and inclusive, in the Eastern District ofVirginia and elsewhere, defendant PAUL J. MANAFORT,

 JR., did knowingly and intentionally execute and attempt to execute a scheme and artifice to

 defi:aud one or more financial institutions, to wit: LenderC, the deposits ofwhichwere insuredby

 the Federal Deposit Insurance Coiporation, and to obtain moneys, funds, and credits owned by and

 under the custody and control of such financial institution by means of materially false and


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 fraudulent pretenses,representations, and promises.

                             (18 U.S.C. §§ 1344,2, and 3551 etseo.^

                                      COUNT FOURTEEN
                     (Bank Fraud Conspiracy / Lender B / $5.5 million loan)

 53.   Paragraphs 1 through 40 are incorporated here.

 54.   On or aboutand between March2016and August 2016, bothdatesbeingapproximate and

 inclusive, in the Eastern District ofVirgmia and elsewhere, defendant PAUL J. MANAFORT,JR.,

 did knowingly and intentionally conspire to execute a scheme and artifice to defiraud one or more

 financial institutions, to wit: LenderB, the deposits of whichwereinsuredby the Federal Deposit

Insurance Corporation, and to obtainmoneys, fiinds, and creditsownedby and underthe custody

 and control of such financial institution by means of materially,false and firaudulent pretenses,

 representations, and promises, contrary to Title 18, UnitedStatesCode, Section1344.

                               (18 U.S.C. §§ 1349 and 3551 etseq.^

                                       COUNT FIFTEEN
                     (BankFraudConspiracy / Lender D / $9.5 million loan)

 55.   Paragraphs 1 through 40 are incorporated here.

 56.   On or about and between April 2016 and November 2016, both dates being approximate

and inclusive,in the Eastern DistrictofVirginia and elsewhere,defendantPAUL J. MANAFORT,

JR., did knowingly and intentionally conspireto execute a scheme and artifice to defraud one or

more financial institutions, to wit: Lender D, the deposits of which were insured by the Federal

DepositInsuranceCorporation, and to obtain moneys, funds, and credits owned by and under the

 custody and control of such financial institution by means of materially false and fraudulent

pretenses, representations, andpromises, contrary to Title 18, United StatesCode, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 etseq.'^
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                                       COUNT SIXTEEN
                           (Bank Fraud / Lender D/ $9.5 million loan)
 57.   Paragraphs 1through 40 areincorporated here.

 58.   On orabout and between April 2016 and November 2016, both dates being approximate
 and mclusive, inthe Eastern District ofVirginia and elsewhere, defendant PAUL J.MANAFORT,
 JR., did knovragly and mtentionally execute and attempt to execute a scheme and artifice to

 defraud one ormore financial institutions, to wit: Lender D,thedeposits ofwhich were msured by

the Federal Deposit Insurance Corporation, and toobtain moneys, funds, and credits owned byand
under the custody and control of such financial institution by means of materially false and

firaudulent pretenses,representations, and promises.

                             (18U.S.C. § 1344,2, and3551 etseg.)

                                     COUNT SEVENTEEN
                     (Bank FraudConspiracy / Lender D / $6.5 million loan)

59.    Paragraphs 1 through 40 are incorporatedhere.

60.    Onor about and between April 2016 and January 2017, both dates being approximate and

inclusive, intheEastern District of Virgmia andelsewhere, defendant PAUL J. MANAFORT, JR.,

did knowingly and intentionally conspire to execute a scheme and artifice to defiraud one or more

financial institutions, to wit: Lender D,thedeposits ofwhich were insured bytheFederal Deposit

Insurance Corporation, and to obtain moneys, fimds, and credits owned byand under the custody
and control of such financial institution by means of materially false and fi:audulent pretenses,

representations, and promises, contrary to Title 18, United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 etsea.)




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                                       COUNT EIGHTEEN
                            (Bank Fraud / Lender D/ $6.5 million loan)
 61.   Paragraphs 1through 40areincorporated here.

 62.   On orabout and between April 2016 and January 2017, both dates being approximate and
 inclusive, mthe Eastern District ofVirginia and elsewhere, defendant PAUL J. MANAFORT, JR.,
 did knowingly and intentionally execute andattempt to execute a scheme and artifice to defraud

 one or more fmancial institutions, to wit: Lender D, the deposits of which were insured by the
 Federal Deposit Insurance Coiporation, and to obtain moneys, funds, and credits owned by and
 under the custody and control of such fmancial institution by means of materially false and

 fraudulent pretenses, representations, and promises.

                             (18U.S.C. §§ 1344,2, and3551 etseg.^

                                     FORFEITURE NOTICE


 63.   Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the United

 States will seekforfeiture as partof anysentence m accordance withTitle18, United States Code,

 Section 982(a)(2), inthe event ofthe defendant's convictions under Counts Tenthrough Eighteen

of this Indictment. Upon conviction of the offenses charged in Counts Ten through Eighteen,

defendant PAUL J. MANAFORT, JR., shall forfeit to the United States anyproperty constituting,

or derived from, proceeds obtained, directly or indirectly, as a result of suchviolation(s). Notice

is frirther given that, upon conviction, the United States intends to seek a judgment against the

defendant for a sum of moneyrepresenting the property described in this paragraph (to be offset

by the forfeiture ofany specific property).

64.    The grand jury finds probable cause to believe that the property subject to forfeiture by

PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets:


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               a.    All funds held in account number •        |0969 at Lender D, and any property
                     traceable thereto.

                                           Substitute Assets

 65.   Ifany ofthe property described above asbeing subject toforfeiture, asa result ofany act or
 omission of the defendant

                a.       cannotbe located uponthe exercise ofdue diligence;

                b.       has been transferred orsold to, ordeposited with, a third party;
                c.       has been placed beyond the jurisdiction ofthe court;

                d.       has been substantiallydiminishedin value; or

                e.       has been commingled with other property that cannot be subdivided without

                         difficulty;

 it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

 982(b) and Title 28, United States Code, Section 2461(c), incorporating Title 21, United States

 Code, Section 853, to seek forfeiture of any other property of said defendant.

                                          (18U.S.C.§982)




                                                       Robert S. Mueller, III
                                                       Special Counsel
                                                       Department ofJustice

 A TRUE BILL:




 Foreperson

Date: February 13,2018

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